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                          EXHIBIT A
Case 5:18-cv-00496-FJS-DEP Document 62-2 Filed 08/31/18 Page 2 of 3




       STATE OF NEW YORK
       SUPREME COURT                              COUNTY OF JDFFERSON


       In the Matter of the Petition of
       JOHN DOE "I'" JOHN DOE "2'"
       JOFIN DOE "3", JOHN DOE "4r"
6l
o JOHN DOE '05" JoIIN DOE "6i"
t!
o JOHN DOE "7', JOIIN DOE "8O"
t JOIIN DOn
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            "9o', and JOF{N'DOE "[0"0
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z                                               Fetitioners,              ORDER TO SHOW C,AUSE
&      v                                                                      Index. No,: l8-1865
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a      SYRA{USE IJNIVERSITY,
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a                                               Respondent.
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       Seeking a Judgment Pursuant,to Article 78
       of the Civil Fractice Law and Rulep
I      Vacating and Anaulling final determinations
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!l     rendered by Respondent on.Iuly 26,2018.
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g                 Upon the Affirmation,of John G. Powers, Esq, dated August        27   , 2078, and 'upon. all
)r     the papers and proceedings had herein, from rvhich      it   appears that   suitcient    eause exists,
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       it is hereby
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r)                 OR-DERAD that Petitioners rnust show cause at the Dulles State Office Building,
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i      3   1   ? Washington Streel Watertown, New York I 3601, on the 3 0 Oay of August, 201              I   at
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       LtQg *tt./@r             as soon after as counsel can be heard, why an Order should not be
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c      issued: { I ) granting Respondent leave to appeal to the Appellate Division. Fourth
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I Department, trom an Order to Shor.v Cause of this Court signed on August
                                                                                              n,2A18
       granting Petitioners' application f,or a temporary restraining order staying the disciplinary

       deter:r"rinations by Respondent that are the subject of this proceeding and prohibiting

       Respondent immeeliately lrorn taking any steps to entbrce those detenninations, based on
Case 5:18-cv-00496-FJS-DEP Document 62-2 Filed 08/31/18 Page 3 of 3




      supplemental papers strbinited by Pelitioners on Friday, August 24,20,18, and in

      sontravention to the.eadier Order to Show Cause signed by this Cour{ on August 22,

      2018, which denied Petitioners' request for a temporary restraining order; or, in the

      alternative, (2),granting leave'to Respondent to rsargue the.ea:lier Order to Show Cause
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      and, upon such reargument, reinstating the Order to Show Cause signed by this Court on
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      August 22,2018;and it is further
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a             ORIERED that, ser,vice oie copy of this Order and the papers                    upon which it,is,
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o based upon      Petitioners' attorneys, Smith, Sovik, Kendrick & Suguet, P.C., Kevin E.
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?     I{rilslander, Esq,   vii   email to khulslander@smiths'ovik.com on oi befbre August               !!,
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:o{   20tBishall be,deemed sufficient service; and it is further
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              ORpERED that Petitioners" answering papsrs, if any, shall be,srrved upon
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F     Respendent's attorneys, I,Iancpqk Estabrook, LLP, John G, Powers, Esq. via ernail to
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      jpowers@hancockl.aw.com no,later fhan             August2!* ,      2018; and it is furJher
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!             ORDERED:that Respondent is entitled to file reply papers, which shall be served
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It    u,pon Petitioners'counsel via email no later than one dal' prior to the return date of this
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{           Dateci: August   10, zOtn
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                                                           James P           lusky,.l   .c"
